                                                     THE HONORABLE BRIAN D. LYNCH
                                                     CHAPTER 13
                                                     HEARING DATE: January 30, 2019
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                                                     HEARING TIME: 1:30 P.M.
                                                     LOCATION: Tacoma, Washington
                                                     RESPONSE DATE: January 23, 2019




                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        WESTERN DISTRICT OF WASHINGTON AT TACOMA



       In re:                                       Case N0.: lS-458l6-BDL

       DARONG HAP and                               NOTICE OF AND MOTION FOR DISMISSAL
       SODAROTH MEL.                                PURSUANT TO ll U.S.C. § l307(c)

                                        Debtors.


                                                   NOTICE

                YOU ARE HEREBY NOTIFIED that a hearing on Trustee’s Motion to Dismiss will
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      be heard before the Honorable Brian D. Lynch at 1:30 P.M. on January 30, 2019, at the US.
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      Bankruptcy Courthouse, [717 Paciﬁc Avenue, Courtroom l, Tacoma, WA 98402.
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                IF YOU OPPOSE this motion, you must ﬁle your written response with the Court
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      Clerk and deliver copies on the undersigned and all interested parties, NOT LATER THAN
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      THE RESPONSE DATE, which is January 23, 2019. You should also appear at the time of
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      hearing. Ifyou fail to do so, the Court may enter an order granting the motion without any
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      hearing and without further notice.
25
                                                                                       Michael G. Malaier
                                                                             Chapter 13 Standing Trustee
                                                                                  2 I 22 Commerce Street
      NOTICE AND MO’I‘lON I’OR DISMISSAL           - l                               Tacoma. WA 98402
                                                                                         (253) 572—6600
                                                        MOTION
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                  COMES NOW. Michael G. Malaier. the Chapter l3 Trustee and alleges as follows:

         1.   Debtors ﬁled this case on December 21, 2015. The case was conﬁrmed by order ofthe

              Court on April 27, 2016.

        2.    Pursuant to the conﬁrmed plan, Debtors are required to make plan payments of$1,823.08

              Bi-weekly. Debtors are presently delinquent in plan payments in the amount of $2,636.59

              and the plan is underfunded to complete in the remaining months allowed, supported by the

              Declaration ﬁled herewith.
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              Debtors have defaulted under the terms ol‘the Plan as follows: § l307(c)(l) unreasonable
        DJ




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              delay by the debtor that is prejudicial to the creditors. § l307(c)(6) failure to remit plan

              payments.
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                 WHEREFORE the Trustee prays that this case be dismissed and closed.
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16               DATED this 4th day ofJanuary, 20l9 at Tacoma, Washington.

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18                                                               Mathew S LaCroix
                                                                 Mathew S. LaCroix. WSBA# 4l847 for
19                                                               Michael G. Malaier, Chapter l3 Trustee

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                                                                                             Michael G. Malaicr
                                                                                     Chapter 13 Standing Trustee
                                                                                          2122 Commerce Street
        NOTICE AND MOTION FOR DISMISSAL                 -                                   Tacoma. WA 98402
                                                            R)




                                                                                                (253) 572—6600
